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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MISSOURI
                                      EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                  Plaintiff,                  )
                                              )
            v.                                )       No.
                                              )
FORTY-EIGHT THOUSAND, ONE                     )
HUNDRED DOLLARS IN U.S.                       )
CURRENCY ($48,100.00),                        )
                                              )
                  Defendant.                  )

                          VERIFIED COMPLAINT OF FORFEITURE

        COMES NOW, Plaintiff, United States of America, by and through its attorneys, Jeffrey

B. Jensen, United States Attorney for the Eastern District of Missouri, and Lindsay McClure-

Hartman, Assistant United States Attorney, for said district, and for its Verified Complaint for

Forfeiture states as follows:

       Nature of the Action

       1.        This is a civil action in rem brought by the United States of America seeking

forfeiture of all right, title, and interest in the above-captioned defendant property pursuant Title

21, United States Code, Section 881(a)(6) and Title 18, United States Code, Sections 981(a)(1)(A)

and (C).

       2.        The defendant property was seized by law enforcement on or about October 23,

2018 and is described more fully as forty eight thousand, one hundred dollars in U.S. Currency

($48,100.00)(the “defendant property”).




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                                     Jurisdiction and Venue

       3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1345, 1355,

and 1395.

       4.      Venue is proper pursuant to 28 U.S.C. § 1355(b)(1)(A) because the acts and

omissions giving rise to forfeiture took place in the Eastern District of Missouri. Venue is also

proper pursuant to 28 U.S.C. § 1395(b) because the defendant property was seized in the Eastern

District of Missouri.

                                      Statutory Framework

       5.      Title 21, United States Code, Section 881(a)(6) authorizes the civil forfeiture of

“all moneys, negotiable instruments, securities, or other things of value furnished or intended to

be furnished by any person in exchange for a controlled substance or listed chemical in violation

of this subchapter, all proceeds traceable to such an exchange, and all moneys, negotiable

instruments, and securities used or intended to be used to facilitate any violation of this

subchapter.”

       6.      Title 18, United States Code, Section 1956(a)(1)(A)(i) criminalizes conducting a

transaction, including transferring, delivering, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, with the intent

to promote the carrying on of the specified unlawful activity.

       7.      Title 18, United States Code, Section 1956(a)(1)(B) criminalizes conducting a

transaction, including transfer, delivery, or other disposition, knowing that such transaction

represents the proceeds of some form of unlawful activity and that in fact involves the proceeds of

a specific unlawful activity, including violations of the Controlled Substances Act, knowing that



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the transaction is designed in whole or in part to conceal or disguise the nature, location, source,

ownership, or control of the proceeds of specified unlawful activity.

        8.     Pursuant to Title 18, United States Code, Section 981(a)(1)(A), any property, real

or personal, involved in a transaction or attempted transaction in violation of section 1956 of Title

18, or any property traceable to such property, is subject to civil forfeiture.

        9.     Title 18, United States Code, Section 1952 criminalizes traveling in interstate

commerce with the intent to distribute the proceeds of any unlawful activity, including a business

enterprise involving controlled substances, or otherwise promoting, managing, establishing, carry

on, or facilitating the promotion, management, establishment, or carrying on, of such unlawful

activity.

        10.    Pursuant to Title 18, United States Code, Section 981(a)(1)(C), any property, real

or personal, which constitutes or is derived from proceeds traceable to a violation of Title 18,

United States Code, Section 1952 is subject to civil forfeiture.

                                Facts Giving Rise to the Forfeiture

        11.    On or about October 23, 2018, SCCDTF officers observed a 2018 Volkswagen

Atlas (“Atlas”) on Interstate 70 near mile marker 205, within the Eastern District of Missouri,

traveling westbound.

        12.    Officers conducted a traffic stop of the Atlas for a traffic violation.

        13.    The driver of the Atlas was Nathaniel A. Williams (“Williams”). The registered

owner of the Atlas was EAN Holdings LLC. Williams stated his brother rented the car for him

and he did not possess the rental agreement.

        14.    Williams told officers he was coming from Pennsylvania, where he went to renew

his driver’s license. He stated he was on his way back to Colorado and had only been in



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Pennsylvania for one day.

        15.     Officers could smell an immediate odor of marijuana. Officers asked Williams if

he had been smoking marijuana and Williams replied that he had smoked marijuana earlier.

Officers then asked if they could search the vehicle and its contents. Williams verbally granted

consent to search the vehicle and its contents.

        16.     During a subsequent search, officers located a gray plastic bag on the floorboard of

the rear of the car. A search of the bag revealed a large amount of United States Currency, which

was rubber banded in various increments and contained a strong odor of marijuana.

        17.     A further search of the vehicle revealed another bundle of currency in the glove

box, which was also rubber banded together.

        18.     Officers asked Williams about the defendant currency located in the plastic bag and

glove box. Williams stated he was going to use the currency to purchase a tow truck. When asked

how he acquired the currency, Williams replied, “work.” When asked, Williams was unsure of

how much money he had in the vehicle. He said he had spent some, purchased money orders and

had some travel expenses. He said he started with around $58,000.00 but was unsure how much

remained.

        19.     Due to the totality of circumstance, the traffic stop was moved to a secure facility.

A trained drug detection canine was deployed for a “discretionary sniff” and the canine gave a

positive alert to the currency for the presence of the odor of illegal narcotics.

        20.     An official count of the currency totaled $48,100.00 (the “defendant property”).

                                  COUNT ONE – FORFEITURE
                                     21 U.S.C. § 881(a)(6)

        21.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 20 above as if fully set forth herein.

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        22.     The defendant property is bulk U.S. currency that was discovered by law

enforcement officers in bundles, wrapped in rubber bands, in denominations and a manner that is

consistent with drug trafficking. In addition, a certified narcotics canine alerted positively to the

presence of a controlled substance on the defendant property.

        23.     The defendant property is subject to forfeiture pursuant to 21 U.S.C. § 881(a)(6)

as money furnished or intended to be furnished in exchange for a controlled substance, as

proceeds traceable to such an exchange, and as money to be used to facilitate a violation of the

Controlled Substances Act.

                                  COUNT TWO – FORFEITURE
                                    18 U.S.C. § 981(a)(1)(A)

        24.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 20 above as if fully set forth herein.

        25.     The defendant currency is proceeds of an unlawful activity involving controlled

substances and was transported through the Eastern District of Missouri by Williams with the

intent to promote the carrying of, and to conceal or disguise the nature, location, source, ownership

or control of, a specified unlawful activity.

        26.     Based on the foregoing, the defendant currency is subject to forfeiture, pursuant to

Title 18, United Stated Code, Section 981(a)(1)(A) as property involved in a transaction or

attempted transaction in violation of Title 18, United States Code, Section 1956, or as property

traceable to such property.

                                COUNT THREE – FORFEITURE
                                   18 U.S.C. § 981(a)(1)(C)

        27.     The United States incorporates by reference the allegations set forth in Paragraphs

1 to 20 above as if fully set forth herein.



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       28.     The defendant currency is proceeds of an unlawful activity involving controlled

substances that travelled with Williams in interstate commerce with the intent to distribute it, and

otherwise promote, manage, establish, carry on, or facilitate the promotion, management,

establishment, or carrying on, of an unlawful activity involving controlled substances.

       29.     Based on the foregoing, the defendant currency is subject to forfeiture, pursuant to

Title 18, United Stated Code, Section 981(a)(1)(C) as property that constitutes or is derived from

proceeds traceable to a violation of Title 18, United States Code, Section 1952.

                                     PRAYER FOR RELIEF

             WHEREFORE, the United States of America prays that a Warrant for Arrest be issued

for the defendant property and the defendant property be condemned and forfeited to the United

States of America, in accordance with the provisions of law; and that the United States of America

be awarded its costs in this action, and have such other relief as provided by law and the nature of

the case may require.

                                        Respectfully submitted,

                                        JEFFREY B. JENSEN
                                        United States Attorney


                                        /s/ Lindsay McClure-Hartman
                                        LINDSAY MCCLURE-HARTMAN, #66070MO
                                        Assistant United States Attorney
                                        111 South Tenth Street, 20th Floor
                                        St. Louis, Missouri 63102




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